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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


KARL SHAW,                                       :
                                                 :         Case No. 2:18-cv-483
               Plaintiff,                        :
                                                 :         Judge James L. Graham
       vs.                                       :
                                                 :         Magistrate Judge Chelsey M. Vascura
CITY OF COLUMBUS, et al.,                        :
                                                 :
               Defendants.                       :

                                 ANSWER OF DEFENDANTS

       Now come Defendants, City of Columbus and Chief Kimberley Jacobs, and for their

answer to the Plaintiff’s Complaint state the following:

       1.      With respect to the allegations contained in Paragraph 1 of the Complaint, admit

that the Plaintiff has purported to bring claims under ORC 4112.02(A) and (J) as well as 42 USC

2000e but deny that the Plaintiff in entitled to any relief under those statutes or others. The

Defendants further deny the remaining allegations contained in Paragraph 1 of the Complaint.

       2.      Admit the allegations contained in Paragraph 2 of the Complaint.

       3.      Admit the allegations contained in the first two sentences of Paragraph 3 of the

Complaint. The Defendants further state that there are approximately 9,100 employees of the

City of Columbus of which approximated 2,275 are employed by the Division of Police.

       4.      Admit the allegations contained in the first sentence of Paragraph 4 of the

Complaint.    The Defendants state that the second sentence in Paragraph 4 contains legal

conclusions and no further response is required to those allegations.
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       5.        State that the allegations contained in Paragraph 5 of the Complaint state a legal

conclusion and no further response is required.        To the extent a response is required, the

allegations are denied.

       6.        With respect to the allegations contained in Paragraph 6 of the Complaint, admit

that venue is proper in this Court and deny the remaining allegations contained in Paragraph 6 of

the Complaint.

       7.        Admit the allegations contained in Paragraph 7 of the Complaint.

       8.        With respect to the allegations contained in Paragraph 8 of the Complaint, admit

that the Plaintiff has worked for the Columbus Division of Police for over 25 years and that he

worked in the Strategic Response Bureau. The Defendants deny the remaining allegations

contained in Paragraph 8 of the Complaint.

       9.        Deny for lack of knowledge the allegations contained in Paragraph 9 of

the Complaint.

       10.       Deny for lack of knowledge the allegations contained in Paragraph 10 of

the Complaint.

       11.       Deny for lack of knowledge the allegations contained in Paragraph 11 of

the Complaint.

       12.       With respect to the allegations contained in Paragraph 12 of the Complaint, admit

that in the time period in question, one of Sergeant Moore’s responsibilities was to oversee the

use of police surveillance equipment. The Defendants deny for lack of knowledge the remaining

allegations contained in Paragraph 12 of the Complaint.

       13.       Deny the allegations contained in that Paragraph.




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        14.      With respect to the allegations contained in Paragraph 14, admit that the

Columbus Division of Police investigated Moore but deny the remaining allegations contained in

Paragraph 14 of the Complaint.

        15.      With respect to the allegations contained in Paragraph 15 of the Complaint, admit

that the Columbus Division of Police opened an investigation of Officer Wes Sorrel but deny the

remaining allegations contained in Paragraph 15 of the Complaint.

        16.      With respect to the allegations contained in Paragraph 16 of the Complaint, admit

that Officer Sorrell was relieved of his gun and badge during the pendency of his investigation

and that Sergeant Moore was not relieved of his gun and badge during the pendency of his

investigation. The Defendants further admit that Sergeant Moore was given a no contact order

during the pendency of the investigation.       The Defendants deny the remaining allegations

contained in Paragraph 16 of the Complaint.

        17.      Deny for lack of knowledge the allegations contained in Paragraph 17 of

the Complaint.

        18.      With respect to the allegations contained in Paragraph 18 of the Complaint, admit

that the internal investigations into Sergeant Moore and Officer Sorrell lasted over a year and a

half. The Defendants further admit that Sergeant Moore was terminated but was reinstated by an

arbitrator.   The Defendants deny the remaining allegations contained in Paragraph 18 of

the Complaint.

        19.      With respect to the allegations contained in Paragraph 19 of the Complaint, admit

that the Plaintiff was not in Sergeant Moore’s chain of command and further admit that the

Plaintiff has not witnessed any of the allegations he has made about Sergeant Moore. The

Defendants further admit that the Plaintiff has simply stated things he has learned through



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hearsay about Sergeant Moore. The Defendants further admit that the Plaintiff reported these

hearsay rumors to the Internal Affairs Bureau. The Defendants deny for lack of knowledge the

remaining allegations in Paragraph 19 of the Complaint.

       20.       Admit the allegations contained in the first sentence of Paragraph 20 of the

Complaint and deny the remaining allegations contained in Paragraph 20.

       21.       With respect to the allegations contained in Paragraph 21 of the Complaint, admit

that Moore allowed to fill two openings but deny the remaining allegations contained in

Paragraph 21.

       22.       With respect to the allegations contained in Paragraph 22, admit that the Plaintiff

applied for the positions referenced in that paragraph but deny for lack of knowledge the

remaining allegations contained in Paragraph 22 of the Complaint.

       23.       With respect to the allegations contained in Paragraph 23 of the Complaint, admit

that Sergeant Moore selected a white officer for a position in the narcotics unit in late 2014 and

further admit that Sergeant Moore passed over both white and African-American officers in

order to fill the position and that when the Police Chief learned what happened, she undid the

entire selection. The Defendants deny the remaining allegations contained in Paragraph 23 of

the Complaint.

       24.       With respect to the allegations contained in Paragraph 24 of the Complaint, admit

that Shaw and Lancaster were interviewed for positions in the narcotics unit but deny for lack of

knowledge the remaining allegations contained in that paragraph.

       25.       Deny for lack of knowledge the allegations raised in Paragraph 25 of

the Complaint.




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       26.       Deny for lack of knowledge the allegations contained in Paragraph 26 of

the Complaint.

       27.       Deny for lack of knowledge the allegations contained in Paragraph 27 of

the Complaint.

       28.       Deny for lack of knowledge the allegations contained in Paragraph 28 of

the Complaint.

       29.       With respect to the allegations contained in Paragraph 29 of the Complaint, admit

that the hiring process for the narcotics unit was redone and that other individuals were placed in

charge of the process and further admit that Sergeant Moore retained his post. The Defendants

deny for lack of knowledge the remaining allegations contained in Paragraph 29 of

the Complaint.

       30.       Deny the allegations contained in Paragraph 30 of the Complaint.

       31.       With respect to the allegations contained in Paragraph 31 of the Complaint, admit

that the Plaintiff withdrew from consideration for a position on the narcotics unit and deny the

remaining allegations contained in that paragraph.

       32.       Deny for lack of knowledge the allegations contained in Paragraph 32 of

the Complaint.

       33.       With respect to the allegations contained in Paragraph 33 of the Complaint, admit

that both narcotics positions were filled by white officers and further admit that the Plaintiff

withdrew his application for those positions. The Defendants deny the remaining allegations

contained in Paragraph 33 of the Complaint.




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       34.       With respect to the allegations contained in Paragraph 34 of the Complaint, admit

that the Plaintiff applied for a position on freeway patrol. The Defendants deny for lack of

knowledge the remaining allegations contained in Paragraph 34 of the Complaint.

       35.       Deny for lack of knowledge the allegations contained in Paragraph 35 of

the Complaint.

       36.       Deny the allegations contained in Paragraph 36 of the Complaint.

       37.       With respect to the allegations contained in Paragraph 37 of the Complaint, admit

that Sergeant Moore remained on active duty during the pendency of his investigation. The

Defendants further state that the investigative report speaks for itself and no further response is

required.

       38.       With respect to the allegations contained in Paragraph 38 of the Complaint, admit

that Chief Jacobs terminated Sergeant Moore and further states that her decision on his

termination speaks for itself and no further response is required.

       39.       With respect to the allegations contained in Paragraph 39 of the Complaint, state

that the arbitration award speaks for itself and no further response is required.

       40.       Deny the allegations contained in Paragraph 40 of the Complaint.

       41.       Deny for lack of knowledge the allegations contained in Paragraph 41 of

the Complaint.

       42.       Deny for lack of knowledge the allegations contained in Paragraph 42 of

the Complaint.

       43.       Deny the allegations contained in Paragraph 43 of the Complaint.

       44.       Deny the allegations contained in Paragraph 44 of the Complaint.

       45.       Deny the allegations contained in Paragraph 45 of the Complaint.



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        46.      Deny the allegations contained in Paragraph 46 of the Complaint.

        47.      Deny for lack of knowledge the allegations contained in Paragraph 47 of

the Complaint.

        48.      With respect to the allegations contained in Paragraph 48 of the Complaint, admit

that the Ohio Civil Rights Commission issued a probable cause finding.

        49.      Deny for lack of knowledge the allegations contained in Paragraph 49 of

the Complaint.

        50.      State that the allegations contained in Paragraph 50 of the Complaint state a legal

conclusion and no further response is required.        To the extent a response is required, the

allegations are denied.

        51.      With respect to the allegations contained in Paragraph 51 of the Complaint,

restate and incorporate by reference their responses to Paragraphs 1 through 50 of the Complaint

as if restated herein.

        52.      Deny the allegations contained in Paragraph 52 of the Complaint.

        53.      With respect to the allegations contained in Paragraph 53 of the Complaint,

restate and incorporate by reference their responses to Paragraphs 1 through 52 of the Complaint

as if restated herein.

        54.      Deny the allegations contained in Paragraph 54 of the Complaint.

        55.      With respect to the allegations contained in Paragraph 55 of the Complaint,

restate and incorporate by reference their responses to Paragraphs 1 through 54 of the Complaint

as if restated herein.

        56.      Deny the allegations contained in Paragraph 56 of the Complaint.




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        57.     Deny the allegations contained in Paragraph 57 of the Complaint and further deny

that the Plaintiff is entitled to the relief he seeks or to any relief whatsoever.

        58.     Deny each and every allegation not specifically admitted to in this Answer.

        59.     WHEREFORE, having answered the Plaintiff’s complaint, raise the following

defenses, including affirmative defenses.

        60.     The Plaintiff’s Complaint has failed to state a claim upon which relief can

be granted.

        61.     The Plaintiff has failed to exhaust all administrative remedies.

        62.     The Plaintiff’s claims are barred by the applicable statutes of limitations.

        63.     The Defendants had legitimate non-discriminatory reasons for the actions they

took against the Plaintiff.

        64.     The Plaintiff’s damages are barred by his failure to mitigate.

        65.     The Plaintiff lacks standing to bring this complaint.

        66.     The Defendants enjoy immunity due to Chapter 2744 of the Ohio Revised Code.

        67.     The Plaintiff’s claims are barred by the doctrine of accord and satisfaction.

        68.     The Defendants reserve the right to add additional defenses, including affirmative

defenses, as discovery proceeds in this case.

                                        Respectfully submitted,
                                        CITY OF COLUMBUS, DEPARTMENT OF LAW
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                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing Answer of Defendants has been served by

operation of this Court’s electronic filing system, this 23rd day of May 2018 on the following:

       Frederick M. Gittes
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                                             /s/ Richard N. Coglianese
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